Case 4:12-cV-00352-TCK-FHI\/| Document 8-2 Filed in USDC ND/OK on 06/21/12 Page 1 of 7

EXHIBIT 2

Case 4:12-cV-00352-TCK-FHI\/| Document 8-2 Filed in USDC ND/OK on 06/21/12 Page 2 of 7

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IN THE DISTRICT COURT IN AND FOR CREEK COUNTY

 

BRISTOW DIVISION
Fll_ED lN DiSTRlCT COURT
STATE OF OKLAHOMA CREEK COUNTY BR|STOW OK
PATRICK M. PARRICK ) MAY 2 3 201
Plaintiff, ) TlME l ' 511
) Amanda VanOrsdo\, Court Clerk
-VS- ) Case NBo. C 1
) -- 2 - "l
PROGRESSIVE INSURANCE CO. ) J 0 1 2 2 0
) A'I`TORNEY LIEN CLAIMED '
) JURY TRIAL DEMANDED
I)efendant. )

PETITION

COMES NOW Plaintiff, Patrick M. Parrick, and for his causes of action against the

Defendant, Progressive Insurance Co., alleges and states as follows, to wit:

BREACH OF CONTRACT

. Plaintiff alleges that on the 25th day of February, 2012 plaintiff was the owner of a 1989

International 93 00 bearing serial number 2HSFEGUR5KC026464 which plaintiff had
insured with defendant for comprehensive insurance in a stated sum of $15,000.00.
Plaintiff` s vehicle was insured by defendant bearing policy number 04729207-1.

On the 25"1 day of February, 2012 plaintiff discovered that vandalism had occurred
within the interior of his truck and specifically that the inside of the cab of plaintiffs

truck had been set on fire.

. Plaintiff thereafter pursuant to his obligations under the insurance policy duly reported

the loss to the defendant and presented a claim to the defendant for the loss occasioned to
plaintiffl
Thereafter defendant conducted whatever investigation defendant did and specifically

requested all records from plaintiff in their investigation and took possession of plaintiff’ s

 

 

Case 4:12-cV-00352-TCK-FHI\/| Document 8-2 Filed in USDC ND/OK on 06/21/12 Page 3 of 7
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vehicle and secured a Povver of Attorney from the defendant and further converted
plaintiffs truck to defendant’s use and benefit and said defendant has disposed of
plaintiffs truck, whereabouts unknown to plaintiff.

5. Plaintiff alleges that the damage inflicted to plaintiff s truck has resulted in a total loss of
the same and that plaintiff is entitled to either the actual cash value of the truck on the
date of loss or the stated value of the truck Which in the instance of the insurance policy is
the sum of $15,000.00, the amount the truck was insured for and for which plaintiff paid
a premium.

6. Approximately 3 months has passed since the loss of plaintiff s truck and plaintiff
continues to bear interest on plaintiffs note for the purchase of the same, loss of use of
the vehicle and other incidental damages for Which plaintiff seeks judgment against the
defendant on plaintiffs claim for breach of contract.

'7. On or about the 11lh day of May, 2012 defendant issued to plaintiff a check in the sum of
38,157.46 claiming that said tender was payment of the undisputed amount of the 1989
International less savage and $1,000.00 deductible Plaintiff alleges that defendant is
entitled to deduct the $1,000.00 deductible but that defendant has converted the salvage
to defendant’ s exclusive use and benefit and has converted the value of the salvage from
plaintiff Plaintiff prays for judgment against the defendant in the sum of $5,842.54 for
breach of contract for the stated amount of coverage on plaintiff s vehicle for its total loss
together with costs incurred herein and attorney’s fees for defendant's breach of contract.

WHEREFORE, premises eonsidered, plaintiff prays for judgment against the

defendant for defendant’s breach of contract in the sum of $5,842.54 together with costs

 

 

Case 4:12-cV-00352-TCK-FHI\/| Document 8-2 Filed in USDC ND/OK on 06/21/12 Page 4 of 7

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expended herein interest as provided for by law, attorney’s fees and such other and
further relief as the court deems equitable and proper.
BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING
Comes now plaintiff and for his cause of action of action against the defendant for

breach of the duty of good faith and fair dealing,7 alleges and states as follows, to wit:

Plaintiff re-alleges all of the allegations contained-in plaintiffs numbered paragraphs 1

through 7.

Plaintiff alleges that plaintiff has fully cooperated with defendant in the investigation of

plaintiff s loss.

Plaintiff alleges that the defendant has breached the duty of good faith and fair dealing

with plaintiff in either or all of the following particulars for which plaintiff is entitled to

recover:

a. Defendant has performed an inadequate investigation;

b. Defendant failed to properly investigate plaintiffs claim of plaintiffs darnage;

c. Defendant failed to offer settlement within a reasonable time after reasonable
investigation and evaluation in favor of its insured;

d. Unreasonable delay in investigation of the claim and evaluation of the same and delay
and inadequacy of payment;

e. Defendant failed to fairly and reasonably evaluate damages;

f. Defendant has wrongfully delayed investigation, evaluation and has made a low ball
payment with the intention of causing emotional distress to plaintiff for which
plaintiff is entitled to damages;

g. Defendant has committed deception;

 

Case 4:12-cV-00352-TCK-FHI\/| Document 8-2 Filed in USDC ND/OK on 06/21/12 Page 5 of 7
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h. Said defendant has impeded the insured by imposing burdensome documentation
demands not required by the facts or the policy of insurance;

i. Said defendant has committed fraudulent, intrusive or harassing investigating
methods',

j. Defendant has engaged in low balling or has engaged in unwarranted disputes
concerning the value of the loss due to the vehicle being insured for a stated value;

k. Defendant has insinuated and accused plaintiff of effectuating plaintiffs own loss;

1. Defendant has created issues simply to compromise the duty to pay the full amount of
the claim and has engaged in a design or scheme to not pay insurer’s their rightful
benefits;

m. The defendant has failed to comply with industry standards as to the reasonable
expectation of insureds for prompt investigation and payment of claims; '

n. Defendant has been guilty of use of oppression and has forced plaintiff to hire counsel
and institute suit to secure benefits rightfully owed;

o. Defendant has been guilty of unreasonably handling plaintiff s claim causing its
insured to litigate unnecessarily', and

p. Plaintiff claims that the actions of the defendant in the tortuous handling of plaintiffs
claim has resulted in emotional distress inflicted upon plaintiff and that defendant is
guilty of the tort of outrage towards plaintiff. Plaintiff alleges that plaintiff has been
humiliated, embarrassed, treated like a criminal and has not been afforded the peace
of mind promised to plaintiff by virtue of the insurance policy purchased by plaintiff

ll. Plaintiff prays for judgment against the defendant for a sum exceeding $25,000.00 on

plaintiffs second cause of action to be determined by the tryer of facts not to exceed the

 

 

 

case 4:12-cV-00352-TCK-F[HI\/| Document 8-2 Filed in USDC ND/OK on 06/21/12 Page 6 of 7

statutorily mandated limit invoking federal jurisdiction, $75,000.00 and for such other

and further relief as the court deems equitable and proper.

WHEREFORE, premises considered, plaintiff prays for judgment against the defendant
on plaintiffs second cause of action in a sum exceeding $25,000.00 together with costs,
attomey’s fees and such other and further relief as the court deems equitable and proper not

to exceed the jurisdictional amount for state jurisdiction

Respectfully submitted,

 

Mike rone§j o . . #4821

MIKE JONES, .C.

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Bristow, Ol<lahoma ?4010
Telephone: (918) 367-3303
Facsimile: (918) 3675 856
Email:_ joneslaw@swbell.net
ATTORNEY ron PLAlNTIFF

 

Case 4:12-cV-00352-TCK-FHI\/| Document 8-2 Filed in USDC ND/OK on 06/21/12' Page 7 of 7

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VERIFICATION

STATE OF OKLAHOMA )
) ss.

COUNTY OF CREEK )
I, Patricl< M. Parricl<, duly swear upon oath, that:

l. That I am the Plaintiffherein;

2. That I have read the above Petition and the same is true and correct to the best of my
knowledge, information and belief

M/

Patrick M. Parrick

Subscribed and sworn to before me this 359 day of May, 2012.

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My commission no. #05006053
My commission expires: 07- 01- 13

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